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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN I)ISTRICT OF PENNSYLVANIA

SEAN C. RAFFERTY

1810 Brooks Rd.

West Chester, PA 19382
Plaintiff,

V.

JANE DONZE, in her individual
capacity

325 W Street Rcl.

Kennetl; Square, PA 19348

and

CHESTER COUNTY COURT OF
COMMON PLEAS FAMILY COURT
I}/B/A CHESTER COUNTY OFFICE
OF I)OMESTIC RELATI()NS

201 W. Market St

Suite 340{)

WeSt Chester, PA 193 80-()991

and

COUNTY OF CHESTER
313 West Market Stl'eet
West Chester, PA 193 80

and

John Doesl-10
Defendants

No.

.]URY OF TWELVE (12) .]URORS
DEMANDED

CIVIL AC'I`ION COMPLAINT

PARTIES, JURISDICTION AND VENUE

 

. Plaintiff, Sean C. Rafferty, is an adult individual residing at the above captioned
address '

. Defendant, lane Donze, is an adult individual residing at the above captioned address
. Defendant, Chester County Oftice of Dornestic Relations, is a division cf the Chester
County Court of Common Pleas Family Court responsible for making child support
rulings

. Defendant, County of Chester, is the governmental unit Wherein the Borough of West
Chester is located and is Where the events of this matter occurred The County and
Borough are proper state actors under 42 U.S.C. §1983.

. Defendants, John Does l-l(), is a moniker/t`rctitious name for individuals and entities
currently unknown but Will be substituted When known, as aftiliated, associated or
liable hereunder for the reasons set forth below or inferred therefrom Each of these
parties are incorporated as Defendants in each and every count and averment listed
above and beloW.

This court has jurisdiction under the Civil Rights Act, 42 U.S.C.A. § 1983, and it has
pendent jurisdiction to consider claims arising under state law. Venue is proper in the
Eastern District of Pennsylvania pursuant to 28 U.S.C.A § 1391 (b) because all

claims arose Within the district and all Defendants reside or have employees Within

the district

OPERATIVE FACTS
. Plaintiff, Sean C. Rafferty, is a retired police officer residing in West Chester,

Pennsylvania in the County of Chester.

 

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Plaintiff worked as a police officer for over twenty-five (25) years. Piaintiff retired in
early 2015.

Approximately twenty-five (25) years ago, Piaintiff` was injured in a Work-reiated
motor~vehicle accident Due to the accident, Plaintiff suffered severe back injury that
required professional medical treatmentl

Plaintiff proceeded to Work as a police officer without incident for the remainder of
his career.

fn 2017, Plaintiff decided to run for the position of iocal Magisterial District Judge
for the County of Chester.

Plaintiff ran against Defendant, Jane Donze, and two (2) other candidates for the
Chester County Republican Nomination.

On February 14, 2017, Plaintiff and Defendant Donze were in attendance at the
Chester County Republican Endorsement Convention in Chester County, PA.

At some point prior to the February 14, 2017, convention Defendant illegally gained
access to Plaintiffs medical information from the Defendant, Chester County Office
of Dornestic Relations.

While in attendance at the convention, Defendant Donze disseminated sensitive and
confidential medical information regarding Plaintiff.

Plaintiff believes and avers Defendant Donze obtained Plaintiffs confidential
medical information with the intention of releasing said medical information to harm
Plaintiff’ s reputation and ruin Plaintiffs chances of winning the Repubiican

nomination

 

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Defendant, Donze, spread lies and defamed Plaintiff by claiming that Plaintiff was a
drug addict, fired from his employment as a police officer and that Plaintiff neglected
to pay child support
Defendant, Donze, used Plaintiffs medical history regarding the motor-vehicle
accident from twenty-five (25) years ago to allude that Plaintiff has a drug problem.
Defendant, Donze, told numerous people who were in attendance at the Chester
County Republican Endorsement Convention, these lies and fabricated stories.
None of these allegations are true.
Defendant, Donze, attempted to solicit the help of local newspapers to spread the
false and defamatory information regarding Plaintiff.
Finding no basis of truth in the allegations, the media outlets refused to print
Plaintiff’ s medical information at Defendant’s request
On numerous occasions, Plaintiff asked Defendant, Donze, to stop disseminating his
private and confidential medical information Defendant refused.
Defendant, Chester County Domestic Relations, has failed to investigate how
Plaintiff’s confidential medical records were obtained by Defendant DonZe.
The defamatory remarks made by Defendant, Donze, caused immense harm, of which
resulted in Plaintiff losing the Republican endorsement and subsequently the election.
Plaintiff has suffered and continues to suffer severe and irreparable damage to his
reputation at the helm of Defendants’ actions

COUNT I - DEFAMATION
Plaintiff incorporates the preceding paragraphs above as though set forth at length

herein.

 

28. As a result of Defendants’ self-serving, and vile actions, PlaintifF s reputation in the
community of West Chester, Pennsylvania in Chester County was severely damaged

29. The aforesaid conduct of the Defendants’ exposed Plaintiff to ridicule,
embarrassment, contempt, endless of esteem among a substantial, respectable group
including, but not limited to, Plaintiff’s existing and prospective future endorsers, and
supporters, as well as Plaintiff" s friends, neighbors, community members and other
third-party relationships

30. The aforesaid conduct of Defendants’ is slander per se and/or libel omits face.

31. As a direct and proximate result of the foregoing wrongful conduct of the
Defendants’, Plaintiff has suffered and continues to suffer damages including damage
to his existing and prospective business relationships, and damage to his reputation
and regard in the community at large

32. The aforesaid wrongful conduct of Defendants’ was neither privileged nor otherwise
defensible in any manner whatsoever.

33. As a result of the aforesaid vindictive, wrongful conduct of the Defendants’, which
conduct was wanton, malicious, willful, knowing and/or committed in reckless
disregard for the truth, Plaintiff is entitled to recover punitive damages against the

Defendants as a punishment for such outrageous conduct

COUNT II - 1983 VI()LATION
34. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

herein.

 

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Defendants’ retaliatory conduct, as set forth herein, deprived Plaintiff of equal
protection under the law as guaranteed by the First Amendment of the United States
Constitution.

Defendants’ conduct, as alleged herein, violated Plaintiff’s rights to substantive and
procedural due process.

As a direct and proximate result of Defendants’ acts and conduct which caused and
continue to cause Plaintiff to be denied equal protection under the law.

Plaintiff has suffered and will suffer those injuries, damages, and losses alleged
herein and has incurred and will incur attomeys’ fees and costs.

The wrongful acts and conduct of Defendants’ were done with deliberate indifference
to the statutory and constitutional rights of Plaintiff

In addition, and/or in the alternative, the actions of Defendants and their agents and
employees were knowingly acquiesced to, and thereby had the force or official or

unofficial policy, practice or custom of the governmental agency.

WHEREFORE, Plaintiffs respectfully request this Honorable Court to enter a

judgment in his favor and against Defendant in an amount in excess of $ 75,000.00, plus

punitive damages, along with whatever relief that this Court deems appropriate and

proper, including equitable relief, and attorney’s fees and costs.

Respectfully Subrnitted,

 

WEISBERG LAW sCHAFKoPF LAW, LLC
BY: /s/ Matthew Weisberg BY: gm
MATTHEW B. WEISBERG, EsQ GARY/sCI-;MKOPF, aspr

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